Case 1:15-cv-10327-RGS Document 1-2 Filed 02/11/15 Page 1 of 2
Commonwealt_h of Massachusetts

SUFFOLK, ss. SUPERIOR COURT‘DEPARTMENT
_ OF THE TR]AL COURT l
CIVIL ACTION

No_ sucv2015-00067

 

JOHN MESCHINO , Plaintift`(s)

V.
FRAZIER INDUSTRIAL COMPANY Defendant(g)

 

SUMMONS

To the above-named Defendant:

You are hereby summoned and required to serve upon PAMELA E' BERMAN AND
TIMOTHY.,H. POWELL, OF BOWDITCH E¢ 'DEWEY. _LLP
Whose address is 1 International Place, M+th .Floor, Boaton ,Wl grzs£`];£. to

 

plaintiff ’s attorney, _
the complaint which is herewith served upon you, Within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint You are also required to file your answer to the complaint in the office
of the Clerk of this court at Boston either before service upon plaintiff’s attorney or within a reasonable
time thereaiier.

Unless otherwise provided by Rule l3(a), your answer must.state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff ’s claim or you will thereafter be barred from making such claim in any other action.

_ Witness,]ud:l-th Fahi'icantf. , Esquire, at Boston, the 12TH - day of
JANUARY , in the year of our Lord two thousand FIFTEEN

WMAMW

l. This summons is issued pursuant to Ru|e 4 of the Massachusetts Rules of`CiviI Procedurc

2. When more than one defendant' is involved the names of all defendants should appear in the caption. lf a separate summons is used for each dcfendant,
each should be addressed to the particular dcfendant. -

3. 'ro PLAINTIFF s ATToRNBY: PLEASF. cchLE TYPE _oi= Ac'rioN invoLvED
{1) ToRT -{2) MoToR vsHicLE ToaT -(3) coN'rRAcr _(4)eQU1TABLE ReLIEF -(s) orr-len

Clerk/Magistrate

defense, either you or your adomey must serve a copy of your written answer within 20 days as specilied herein and also ‘li|e the

NOTlCE TO DEFENDANT - You need `nol appear personally in court to answer the complaint but if you claim to have a
` original in the C|erk's Office.'

FOR.M CIV.P. l 3rd Rev. 20M-10/11

Case 1:15-`cv-10327-RGS Document 1-2 Filed 02/11/15 Page 2 of 2
PROOF OF SERVICE OF PROCESS

I hereby certify and return that on 201 l served a copy of the within summons,'
together with a copy of the complaint in this action, upon the within-named defendant, in the following
manner (See Mass. R. Civ. P. 4 (d) (1-5):

 

 

 

Dared- ~ 201

 

N.B. TO PROCESS SERVER: -
PLEASE PLACE DATE YOU MAKE SERVICE ON DEFENDANT IN
THIS BOX ON TI'IE ORlGINAL AND ON COPY SERVED ON DEFENDANT. `

 

,201 .

 

 

 

, Plff(s)
, -Deft(s).

 

SUCVZO 15-0006?

SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
CIVIL ACTION

No.
SUMMONS
(Mass R va P 4)
n (AFFIX FILING` STAMP HERE)

' Commonwealth cf Massachusetts

 

 

FRAZIER INDUSTRIAL COMPANY

Jo`HN inescalno

SUFFOLK, ss.-

